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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 GREGORY CRABB
 211 Main Street
 Apt. B
 Washington, DC 20001

 Plaintiff

      v.                                                  CASE NO.___________

 JOHN POE ACPD OFFICERS 1–5
 Arlington County Police Department
 1425 N Courthouse Rd,
 Arlington, VA 22201

 JOHN DOE PARK POLICE
 OFFICERS 1–5
 U.S. Park Police
 1100 Ohio Drive, S.W.
 Washington, D.C. 20242

 JOHN ROE MPD OFFICERS 1–5
 D.C. Metropolitan Police Department
 c/o Office of the Attorney General
 441 4th Street, N.W.
 Washington, D.C. 20001

 Defendants


                             COMPLAINT AND JURY DEMAND
                              (Civil Rights Complaint for Damages)

       1.      This is a civil rights complaint against police officers for brutally assaulting

Plaintiff Gregory Crabb, who was protesting nationwide injustice among hundreds of other

protestors.

       2.      On June 1, 2020, a group of demonstrators, including Mr. Crabb, gathered

peacefully in Lafayette Square to protest the gross, systemic injustices perpetrated by law

enforcement against Black people in the United States.

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       3.        Mr. Crabb and others were exercising their First Amendment rights to assemble,

speak, and petition the government in Lafayette Square. Plaintiff was engaging in political

speech to address, through the exercise of his constitutional rights, overt and systemic racism in

the American criminal justice system.

       4.        Law enforcement officers from local and federal law enforcement agencies

surrounded Mr. Crabb and other civil rights activists assembled in Lafayette Square.

       5.        U.S. Park Police, Arlington County Police Department, and D.C. Metropolitan

Police fired tear gas, pepper spray capsules, rubber bullets, and flash bangs into the crowd and

physically charged at Mr. Crabb and the protestors to shatter the peaceful gathering, forcing

demonstrators to flee the area.

       6.        First, tear gas and rubber bullets began flying. Then, a phalanx of unknown law

enforcement officers charged the line of protesters, including Mr. Crabb. Mr. Crabb did not

receive any instructions or warnings to disburse. None of the officers spoke to Mr. Crabb prior to

the incident.

       7.        During the law enforcement officers’ surge, Mr. Crabb was shot with one or more

rubber bullets and was exposed to tear gas. Then, he was intentionally beaten over the head with

a riot shield twice as he was backing away from the charging police officers. Dazed and

confused, Mr. Crabb stumbled backward. As he stumbled backward, he noticed a fellow

protester who had fallen to the ground. Mr. Crabb attempted to aid the fallen protestor, but an

officer knocked him to the ground as he bent down. The entire incident is caught on video by

network news cameras.

       8.        The unidentified police officers were engaged in the charge, including specifically

the officers who beat Mr. Crabb over the head with riot shields and pushed him to the ground.



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       9.      The law enforcement officers who beat Mr. Crabb at Lafayette Park are largely

unidentifiable to Plaintiff. Many such officers took steps to deliberately conceal their identities.

However, as the video depicts the officers with some identifying equipment (helmets, etc.), the

identifies of the John Doe, John Roe, and John Poe officers should be easily learned through

discovery as the police departments on site have records of the employees on duty that day.

       10.     Defendants had no legitimate basis to impede Mr. Crabb’s peaceful protesting

with violence. Defendants’ professed purpose—to clear the area to permit the President to walk

to a photo opportunity at a nearby church—was a wholly illegal reason for abridging the

constitutional rights of Plaintiff and the others assembled in Lafayette Square.

       11.     As a direct and proximate result of Defendants’ actions, Mr. Crabb was concussed

and suffered a traumatic brain injury. Due to the brain injury, Mr. Crabb sought treatment from

the traumatic brain injury clinic at MedStar National Rehabilitation Hospital, among several

other medical providers. He suffered, and continues to suffer from, headaches, post-concussive

syndrome, pain with exertion, sleep disturbances, and balance problems.

                                             PARTIES

       12.     Plaintiff Gregory Crabb is a resident of 211 Bates St. NW, Apt. B, Washington

DC 20001, who was demonstrating peacefully in Lafayette Square on June 1, 2020, when

Defendants charged without provocation and beat him over the head with a riot shield and

pushed him to the ground.

       13.     John Doe Park Police Officers 1–5 are officers of the U.S. Park Police who

participated in the attack on Mr. Crabb near Lafayette Square on June 1, 2020. They are sued in

their individual capacities. At all times relevant to this case, John Doe Park Police Officers were




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acting under color of federal law within the scope of their employment with the federal

government.

       14.     John Roe MPD Officers 1–5 are officers of D.C. Metropolitan Police who

participated in the attack on Mr. Crabb near Lafayette Square on June 1, 2020. They are sued in

their individual capacities. At all times relevant to this case, John Roe MPD Officers were acting

under color of District of Columbia law within the scope of their employment with the District of

Columbia.

       15.     John Poe ACPD Officers 1–5 are officers of the ACPD and other non-federal law

enforcement officials from jurisdictions other than the District of Columbia who participated in

the attack on Mr. Crabb and near Lafayette Square on June 1, 2020. They are sued in their

individual capacities. At all times relevant to this case, John Poe ACPD Officers were acting

under color of state law within the scope of their employment with the Commonwealth of

Virginia.

       16.     The Court has subject matter jurisdiction over this case under 28 U.S.C. § 1331

because this action presents federal questions and seeks to redress the deprivation of rights under

the First and Fourth Amendments to the U.S. Constitution.

       17.     The Court has subject matter jurisdiction over this case under 28 U.S.C. § 1343

because this action seeks to redress the deprivation of rights pursuant to 42 U.S.C. § 1983.

       18.     Venue is proper in this District under 28 U.S.C. § 1391(e)(1) because all of the

events giving rise to the claims took place in this District of Columbia.




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                          COUNT I – Violation of 42 U.S.C. § 1983
                 (First Amendment Rights to Speech, Assembly and Petition)

       19.     Defendants deliberately violated Mr. Crabb’s well-established protections for the

exercise of speech and assembly in public places by assaulting him when he was attempting to

peacefully exercise his First Amendment rights.

       20.     Defendants’ actions were based on, or taken in, retaliation for Mr. Crabb’s

viewpoint; specifically, the view that law enforcement should treat all people equally.

       21.     Defendants’ violent actions were not a reasonable regulation of the time, place, or

manner of Mr. Crabb’s First Amendment protected activity. These actions were not justified by a

compelling – or seven substantial – government interest. Even assuming, arguendo, that there

was a government interest in clearing Lafayette Square and its vicinity demonstrators,

Defendants’ actions were not narrowly tailored to serve that government interest in a lawful

manner. Defendants beat Mr. Crabb over the head with a riot shield for no reason.

       22.     Defendants are jointly and severally liable to Mr. Crabb pursuant to 42 U.S.C. §

1983 for the above-stated violations of his rights.

       23.     Defendants acted with reckless or callous indifference to Mr. Crabb’s federally

protected rights and, therefore, are liable for punitive damages.

       24.     As a direct and proximate result of Defendants’ actions, Mr. Crabb has lost wages

and will in the future lose wages.

       25.     As a direct and proximate result of Defendants’ actions, Mr. Crabb has incurred

significant medical bills and will in the future incur significant medical bills.

       26.     As a direct and proximate result of Defendants’ actions, Mr. Crabb has

experienced severe pain and suffering.




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       27.     As a direct and proximate result of Defendants’ actions, Mr. Crabb will in the

future experience severe pain and suffering.

                          COUNT II – Violation of 42 U.S.C. § 1983
                  (Fourth Amendment Right Against Unreasonable Seizure)

       28.     Defendants beat Mr. Crabb over the head multiple times with a riot shield, when

Mr. Crabb was merely peacefully protesting police injustice.

       29.     Defendants tear gassed and shot Mr. Crabb with rubber bullets, despite Mr. Crabb

peacefully protesting.

       30.     Defendants pushed Mr. Crabb to the ground after beating him over the head with

a riot shield multiple times, even though he was bent over to assist a fallen protestor.

       31.     Defendants’ assault of Mr. Crabb was captured on video and show that Mr. Crabb

was acting peacefully during the entire incident.

       32.     Under the circumstances, in which Mr. Crabb was acting peacefully and was no

threat to the officers whatsoever, Defendants’ actions constituted unreasonable use of force in

violation his clearly established Fourth Amendment rights against the excessive use of force and

unreasonable seizure.

       33.     Defendants are jointly and severally liable to Mr. Crabb pursuant to 42 U.S.C. §

1983 for the above-stated violations of his rights.

       34.     Defendants acted with reckless or callous indifference to Mr. Crabb’s federally

protected rights and, therefore, are liable for punitive damages.

       35.     As a direct and proximate result of Defendants’ actions, Mr. Crabb has lost wages

and will in the future lose wages.

       36.     As a direct and proximate result of Defendants’ actions, Mr. Crabb has incurred

significant medical bills and will in the future incur significant medical bills.

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        37.     As a direct and proximate result of Defendants’ actions, Mr. Crabb has

experienced severe pain and suffering.

        38.     As a direct and proximate result of Defendants’ actions, Mr. Crabb will in the

future experience severe pain and suffering.

                  COUNT III – Violation of First Amendment Rights – Bivens

        39.     Defendants’ actions, specifically, beating Mr. Crabb over the head, hitting him

with rubber bullets, spraying him with tear gas, and charging him, were intended to suppress Mr.

Crabb’s peaceful demonstration and the viewpoint it represented.

        40.     Defendants deliberately violated Mr. Crabb’s well-established protections for the

exercise of speech and assembly in public places.

        41.     Defendants’ actions were based on, or taken in, retaliation for the Mr. Crabb’s

viewpoint; specifically, the view that law enforcement should treat all people equally.

        42.     Defendants’ violent actions were not a reasonable regulation of the time, place, or

manner of Mr. Crabb’s First Amendment protected activity. These actions were not justified by a

compelling – or seven substantial – government interest. Even assuming, arguendo, that there

was a government interest in clearing Lafayette Square and its vicinity demonstrators,

Defendants’ actions were not narrowly tailored to serve that government interest in a lawful

manner.

        43.     Defendants are jointly and severally liable to Mr. Crabb pursuant to 42 U.S.C. §

1983 for the above-stated violations of his rights.

        44.     Defendants are jointly and severally liable to Mr. Crabb pursuant to Bivens v. Six

Unknown Named Agents of the Federal Bureau of Narcotics, 403 U.S. 388 (1971) for this

violation of his rights.



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       45.     Defendants acted with reckless or callous indifference to Mr. Crabb’s federally

protected rights and, therefore, are liable for punitive damages.

       46.     As a direct and proximate result of Defendants’ actions, Mr. Crabb has lost wages

and will in the future lose wages.

       47.     As a direct and proximate result of Defendants’ actions, Mr. Crabb has incurred

significant medical bills and will in the future incur significant medical bills.

       48.     As a direct and proximate result of Defendants’ actions, Mr. Crabb has

experienced severe pain and suffering.

       49.     As a direct and proximate result of Defendants’ actions, Mr. Crabb will in the

future experience severe pain and suffering.

                COUNT IV – Violation of Fourth Amendment Rights - Bivens

       50.     Defendants beat Mr. Crabb over the head multiple times with a riot shield, when

Mr. Crabb was merely peacefully protesting police injustice.

       51.     Defendants tear gassed and shot Mr. Crabb with rubber bullets, despite Mr. Crabb

peacefully protesting.

       52.     Defendants pushed Mr. Crabb to the ground after beating him over the head with

a riot shield multiple times, even though he was bent over to assist a fallen protestor.

       53.     Defendants’ assault of Mr. Crabb was captured on video and show that Mr. Crabb

was acting peacefully during the entire incident.

       54.     Under the circumstances, in which Mr. Crabb was acting peacefully and was no

threat to the officers whatsoever, Defendants’ actions constituted unreasonable use of force in

violation his clearly established Fourth Amendment rights against the excessive use of force and

unreasonable seizure.



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        55.     Defendants are jointly and severally liable to Mr. Crabb pursuant to Bivens v. Six

Unknown Named Agents of the Federal Bureau of Narcotics, 403 U.S. 388 (1971) for this

violation of his rights.

        56.     Defendants acted with reckless or callous indifference to Mr. Crabb’s federally

protected rights and, therefore, are liable for punitive damages.

        57.     As a direct and proximate result of Defendants’ actions, Mr. Crabb has lost wages

and will in the future lose wages.

        58.     As a direct and proximate result of Defendants’ actions, Mr. Crabb has incurred

significant medical bills and will in the future incur significant medical bills.

        59.     As a direct and proximate result of Defendants’ actions, Mr. Crabb has

experienced severe pain and suffering.

        60.     As a direct and proximate result of Defendants’ actions, Mr. Crabb will in the

future experience severe pain and suffering.

                                COUNT V – Assault and Battery

        61.     Defendants committed assault and battery against Mr. Crabb when, without

provocation or justification, they charged at him and beat him over the head with a riot shield

multiple times.

        62.     Defendants’ conduct was intentional and malicious.

        63.     As a direct and proximate result of Defendants’ actions, Mr. Crabb was placed in

apprehension of imminent harmful and offensive bodily contact without privilege or consent.

        64.     As a direct and proximate result of Defendants’ actions, Mr. Crabb has incurred

significant medical bills and will in the future incur significant medical bills.




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       65.      As a direct and proximate result of Defendants’ actions, Mr. Crabb has

experienced severe pain and suffering.

       66.      As a direct and proximate result of Defendants’ actions, Mr. Crabb will in the

future experience severe pain and suffering.

                                        RELIEF REQUESTED

       67.      WHEREFORE, Plaintiff respectfully requests that the Court:

             a. Issue a judgment declaring that Defendants’ acts violated the First Amendment,

                Fourth Amendment, and 42 U.S.C. § 1983.

             b. Award compensatory and punitive damages to Plaintiff according to proof at trial,

                including damages for lost wages, medical bills, and pain and suffering, in an

                amount in excess of $75,000.

             c. Award costs of suit and attorneys’ fees; and

             d. Provide such other relief as the Court may deem just, proper, and appropriate.

                                          JURY DEMAND

       68.      Plaintiff requests a trial by jury on any and all issues raised by this Complaint

which are triable by right of a jury.

                                               Respectfully submitted,



                                         By:   Peter T. Anderson /s/
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